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                             UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

   ROBERT MARTIN and KRISTIN
   ARMSTRONG,

                           Plaintiffs,

   v.                                                         Case No: 6:14-cv-1290-Orl-31KRS

   GLOBAL MARKETING RESEARCH
   SERVICES, INC. and JOHN DOES 1-100,

                           Defendants.


                                                   ORDER
           Upon consideration of the Motion to Vacate or for Reconsideration (Doc. 54) filed by

   Defendant Global Marketing Research Services, Inc. (“Global Marketing”) and the response in

   opposition (Doc. 55) filed by the Plaintiffs, it is

           ORDERED that Global Marketing’s motion (Doc. 54) is DENIED. If the Plaintiffs wish

   to seek imposition of sanctions against Global Marketing or its counsel for filing the motion, they

   should file a separate motion. See Doc. 55 at 3, fn 2.

           DONE and ORDERED in Chambers, Orlando, Florida on August 19, 2015.




   Copies furnished to:

   Counsel of Record
   Unrepresented Party
